         Case 2:20-cv-01310-RSM Document 51 Filed 02/15/22 Page 1 of 5




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 7                                  UNITED STATES DISTRICT COURT

 8                               WESTERN DISTRICT OF WASHINGTON

 9
     WILLIAM HEATHCOTE, individually and           Case No. 2:20-cv-01310-RSM
10   on behalf of all others similarly situated,
                                                   DECLARATION OF PHILIP L. FRAIETTA
11                               Plaintiff,        IN SUPPORT OF MOTION FOR
                                                   PRELIMINARY APPROVAL OF CLASS
12                   v.                            ACTION SETTLEMENT
13
     SPINX GAMES LIMITED, GRANDE GAMES
14   LIMITED, and BEIJING BOLE TECHNOLOGY
     CO., LTD.,
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                                 Defendants.
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     DECLARATION OF PHILIP L. FRAIETTA
     CASE NO. 2:20-cv-01310-RSM
         Case 2:20-cv-01310-RSM Document 51 Filed 02/15/22 Page 2 of 5



 1                              DECLARATION OF PHILIP L. FRAIETTA
 2   I, Philip L. Fraietta, declare as follows:
 3           1.      I am an attorney at law licensed to practice in the State of New York, and I have
 4   been admitted to practice pro hac vice in this action. I am a Partner with Bursor & Fisher, P.A.,
 5   counsel for Plaintiff in this action. I have personal knowledge of the facts set forth in this
 6   declaration, and, if called as a witness, could and would competently testify thereto under oath.
 7           2.      Plaintiff, through undersigned counsel, has conducted extensive research, discovery,
 8   and investigation during the prosecution of the action, including, without limitation: (i) the review
 9   of voluminous in-game purchase documents produced by Defendants; (ii) the review of publicly
10   available reports, articles, and other publications concerning Defendants’ Applications; (iii) the
11   review of publicly available information regarding Defendants and their business practices, and
12   (iv) hired and consulted extensively with a damages expert in order to assist with analyzing and
13   synthesizing the data produced by Defendants. These efforts led to the production of critical
14   documents concerning the case, which Class Counsel reviewed and used to ascertain the strengths
15   and weaknesses of the case.
16           3.       In approximately May of 2021, the Parties’ settlement talks began in earnest. The
17   Parties agreed to schedule a mediation session in mid-October of 2021 with Judge Layn Phillips
18   (ret.) of Phillips ADR Enterprises (“Phillips ADR”).
19           4.      In the weeks leading up to the mediation, the Parties were in regular communication
20   with each other and with the Phillips ADR team, as the Parties sought to crystallize the disputed
21   issues, produce focal information and data, and narrow down potential frameworks for resolution.
22   During this period, Defendants provided Class Counsel with several sets of detailed transactional
23   data for virtual chip purchases made by the Settlement Class; the Parties exchanged briefing on the
24   core facts, legal issues, litigation risks, and potential settlement structures; and the Parties
25   supplemented that briefing with extensive telephonic correspondence, mediated and shuttled by the
26   Phillips ADR team, clarifying each other’s positions in advance of the mediation.
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     DECLARATION OF PHILIP L. FRAIETTA                                                                    1
     CASE NO. 2:20-cv-01310-RSM
            Case 2:20-cv-01310-RSM Document 51 Filed 02/15/22 Page 3 of 5



 1             5.    On October 20, 2021, following a full-day mediation session, Judge Phillips made a
 2   mediator’s proposal to settle the case in principle, which both Parties accepted.
 3             6.    In my professional judgment, when the Parties agreed to this settlement, the
 4   Parties were fully informed on all pertinent issues and capable of assessing the benefits of the
 5   settlement.
 6             7.    Over the next four months, the Parties exchanged several rounds of a working
 7   settlement document and supporting exhibits, met and conferred telephonically to discuss the
 8   remaining disputed provisions, and heavily negotiated the form and substance of a notice and
 9   administration plan.
10             8.    On January 5, 2022, as the parties were on the cusp of finalizing the long form
11   settlement agreement, Plaintiff William Heathcote passed away unexpectedly at the age of 39. His
12   mother and only surviving heir, Alma Sue Croft, wishes to be substituted in his place and see this
13   lawsuit through its conclusion.
14             9.    On February 14, 2022, the Parties completed execution of the Settlement Agreement
15   now before the Court. In accordance with FRCP 23(e)(3), there have been no agreements made in
16   connection with the Settlement other than the Settlement Agreement itself.
17             10.   Although Plaintiff and Class Counsel had confidence in their claims, a favorable
18   outcome was not assured. Plaintiff and Class Counsel also recognize that they would face risks at
19   class certification, summary judgment, and trial. Thus, in my professional judgment, the proposed
20   Settlement provides the Class with an outstanding opportunity to obtain significant relief at this
21   stage in the litigation., while also abrogating the risk of Plaintiff and the Class obtaining no relief at
22   all.
23             11.   Based on documents I have reviewed in this case, thousands of individuals have
24   spent money on Defendants’ Applications within the State of Washington over the relevant Class
25   Period.
26             12.   Plaintiff William Heathcote demonstrated his willingness to vigorously prosecute
27   this case, including by providing his counsel with relevant documents, testimony, and consumer
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     DECLARATION OF PHILIP L. FRAIETTA                                                                       2
     CASE NO. 2:20-cv-01310-RSM
         Case 2:20-cv-01310-RSM Document 51 Filed 02/15/22 Page 4 of 5



 1   insight into the intricacies of Defendants’ Applications. Up until mere days before his death,
 2   Plaintiff remained in constant communication with his counsel, and he was heavily involved in
 3   nearly every aspect of this case, from its inception through mediation and settlement. In sum,
 4   Plaintiff remained committed to proving Defendants’ common course of conduct, and obtaining
 5   redress on behalf of himself and the Class. Since Mr. Heathcote’s passing, my firm has been in
 6   regular contact with his mother, Ms. Alma Sue Croft. Ms. Croft wishes to be substituted in her
 7   son’s place as named Plaintiff in this action, and she is fully committed and prepared to vigorously
 8   pursue this case through its conclusion.
 9           13.     Proposed Class Counsel have no conflicts of interest. Proposed Class Counsel have
10   no financial stake in the Defendant nor any connections to particular class members that might
11   cause it to privilege certain members over others.
12           14.     Proposed Class Counsel are well-qualified and experienced members of the
13   plaintiffs’ bar who together have extensive experience in class actions of similar size, scope, and
14   complexity to these cases, have frequently been appointed lead class counsel by courts
15   throughout the country, and have the resources necessary to conduct litigation of this nature.
16           15.     In my professional judgment, if Plaintiff tried this case to verdict, there would be
17   subsequent appeals that would likely take years to resolve. In my professional judgment, the
18   expense and burden associated with litigating this through both trial and appeals militate in favor of
19   granting preliminary approval.
20           16.     Based on the current Plan of Allocation, and based on information from publicly-
21   filed documents in other similar cases, the recoveries class members stand to receive will in many
22   instances be significant.
23           17.     In my professional judgment, the proposed settlement is fair, reasonable, and
24   adequate, and in the best interests of the class.
25           18.     Attached hereto as Exhibit 1 is a true and accurate copy of the Class Action
26   Settlement Agreement.
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     DECLARATION OF PHILIP L. FRAIETTA                                                                      3
     CASE NO. 2:20-cv-01310-RSM
         Case 2:20-cv-01310-RSM Document 51 Filed 02/15/22 Page 5 of 5



 1           19.     Attached hereto as Exhibit 2 is a true and accurate copy of Bursor & Fisher’s firm
 2   resume.
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 5           I declare under penalty of perjury under the laws of the United States, the State of New
 6   York and the State of Washington that the foregoing is true and correct. Executed on February 15,
 7   2022 at New York, New York.
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                                                                  /s Philip L. Fraietta
 9                                                                    Philip L. Fraietta
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     DECLARATION OF PHILIP L. FRAIETTA                                                                    4
     CASE NO. 2:20-cv-01310-RSM
